        Case 3:15-cr-02463-BAS                 Document 115        Filed 08/02/16             PageID.440       Page 1 of 4

AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                         UNITED STATES DISTRICT COURT                                     FJ LE [
                                            SOUTHERN DISTRICT OF CALIFORNIA           PH J: Ita     .'" AUG -2
               UNITED STATES OF AMERICA                            JUDGMENT IN A C~)J~I COun
                                    V.                             (For Offenses Committed atH,IHA.MM6~i:iftliHerq~Q.'''~iu
           EDGAR RAFAEL FIGUEROA-RUIZ (3)
                                                                       Case Number:         15CJlt24e~ BAS -.!?_<cr_."~H't"
                                                                    MARC CARLOS
                                                                    Defendant's Attorney
REGISTRATION NO.                    93799379
D -
!Xi    pleaded guilty to count(s)         ONE (1) OF THE SUPERSEDING INFORMATL ON

       was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                      Nature of Offense                                                              Number(s)
21 USC 846, 841(a)(l)                CONSPIRACY TO DISTRIBUTE HEROIN                                                      1




    The defendant is sentenced as provided in pages 2 through                  4           of this judgment.
The sentence is imposed pursuant to the Sentencing Refonn Act of 1984.
D      The defendant has been found not guilty on count(s)

IZI Count(s)       UNDERLYING                                 is          dismissed on the motion of the United States.

 IX!   Assessment: $100.00



 !Xi No fine                    D Forfeiture pursuant to order filed                                           , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                    AUGUST 1. 2016




                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                   15CR2463-BAS
        Case 3:15-cr-02463-BAS           Document 115        Filed 08/02/16       PageID.441        Page 2 of 4

AO 245B (CASD Rev. 081l3) Judgment in a Criminal Case

DEFENDANT:                  EDGAR RAFAEL FIGUEROA-RUIZ (3)                                         Judgment - Page 2 of 4
CASE NUMBER:                15CR2463-BAS



                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 THIRTY THREE (33) MONTHS.




 o       Sentence imposed pursuant to Title 8 USC Section I 326(b ).
 IZI     The court makes the following recommendations to the Bureau of Prisons:
         THE COURT RECOMMENDS THE DEFENDANT BE DESIGNATED TO A FACILITY IN
         SOUTHERN CALIFORNIA FOR FAMILY VISITS.




 o       The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:
              at
                   ------------------ A.M.                    on
         o    as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o       Prisons:
              on or before
         o     as notified by the United States Marshal.
         o     as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

         Defendant delivered on
                                  --------------------------- to
 at
       ------------------------ , with a certified copy of this judgment.

                                                                   UNITED STATES MARSHAL



                                      By                    DEPUTY


                                                                                                       15CR2463-BAS
             Case 3:15-cr-02463-BAS                 Document 115               Filed 08/02/16            PageID.442            Page 3 of 4

    AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

    DEFENDANT:                   EDGAR RAFAEL FIGUEROA-RUIZ (3)                                                               Judgment - Page 3 of 4
    CASE NUMBER:                 15CR2463-BAS

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within J5 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk offuture
o         substance abuse. (Check. if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted ofa qualifying offense. (Check if applicable.)
          The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           [fthis judgment imposes a fine or a restitution obligation. it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the permission of the coun or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling, training. or other acceptable
         reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:
     7) the defendant shall refrain from excessive use of aleohol and shall not purchase. possess. use. distribute. or administer any controlled substance or
         any paraphernalia related to any controlled substances. except as prescribed by a physician:
     8) the defendant shall not frequent places where controlled substances are illegally sold. used. distributed. or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony.
         unless granted permission to do so by the probation officer:
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation oftlcer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



                                                                                                                                   15CR2463-BAS
       Case 3:15-cr-02463-BAS          Document 115        Filed 08/02/16      PageID.443       Page 4 of 4

AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:              EDGAR RAFAEL FIGUEROA-RUIZ (3)                                         Judgment - Page 4 of 4
CASE NUMBER:            15CR2463-BAS

                                 SPECIAL CONDITIONS OF SUPERVISION

     1. If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States
        illegally and report to the probation officer within 24 hours of any reentry into the United States;
        supervision waived upon deportation, exclusion, or voluntary departure.



II
II
II




                                                                                                   lSCR2463-BAS
